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CGFF1 (10/01/16)




ORDERED in the Southern District of Florida on January 25, 2017




                                                                                                  Erik P. Kimball
                                                                                                  United States Bankruptcy Judge



                                         United States Bankruptcy Court
                                                      Southern District of Florida
                                                        www.flsb.uscourts.gov
                                                                                                                 Case Number: 16−20959−EPK
                                                                                                                 Chapter: 7



In re: (Debtor(s) name(s) used by the debtor(s) in the last 8 years, including married, maiden, and trade)
Maurice Symonette
2035 Linton Lake Dr. Apt. #B
Delray Beach, FL 33445

SSN: xxx−xx−9067




                  ORDER DISMISSING CASE FOR FAILURE TO PAY FILING FEE


     Pursuant to the Order Allowing Installment Payments entered on 08/08/2016, the debtor was directed
to pay the balance of the filing fee OR an installment fee of $167.50 on or before 10/07/2016. The debtor
has failed to make this payment.


Accordingly, it is ORDERED that:

  1. This case is dismissed with prejudice to the filing of any bankruptcy case in any federal bankruptcy
     court in the United States of America by the above−named debtor for 180 days from entry of this
     order, or the expiration of any prejudice period set in any previous order, whichever is later.




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      2. All pending motions are denied as moot.

      3. (If applicable), the trustee shall file a final report within 14 days of the date of this order.

      4. In accordance with Local Rule 1002−1(B)(1)(b), the clerk of court is directed to refuse to
         accept for filing any future voluntary petitions submitted by this debtor if the refiling violates a
         prior order of the court or if the petition is accompanied by an Application to Pay Filing Fee in
         Installments and filing fees remain due from any previous case filed by the debtor.

      5. The debtor shall immediately pay to the Clerk, U.S. Court, Flagler Waterview Bldg, 1515 N
         Flagler Dr, Room 801, West Palm Beach FL 33401, $167.50 for the balance of any statutory
         or court−ordered fees, including conversion fees, and U.S. Trustee's fees as required by Local
         Rule 1017−2(E). Any funds remaining with the trustee shall be applied to this balance and the
         trustee must dispose of any funds in accordance with the Bankruptcy Code and, if a chapter
         12 or 13 case, Local Rule 1017−2(F), unless otherwise ordered by the court. Payment must be
         made in cash, money order or cashier's or "official" check. The court will not entertain a motion
         for reconsideration of this order unless all unpaid fees are paid at the time the motion is filed.

The clerk shall serve a copy of this order on all parties of record.




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